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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                  IN THE UNITED STATES DISTRICT COURT                  July 15, 2022
                  FOR THE SOUTHERN DISTRICT OF TEXAS                Nathan Ochsner, Clerk
                           HOUSTON DIVISION



MICHELLE LEGALL-JOHNSON               §
and WILLIAM M. JOHNSON, JR.,          §
                                      §
                  Plaintiffs,         §
                                      §
v.                                    §
                                      §        CIVIL ACTION NO. H-22-1560
JPMORGAN CHASE BANK NATIONAL          §
ASSOCIATION, JPMORGAN CHASE &         §
CO., THUY FRAZIER, CINDY              §
MENDOZA, and McCARTHY AND             §
HOLTHUS, LLP,                         §
                                      §
                  Defendants.         §



                               FINAL JUDGMENT


      In accordance with the court's Memorandum Opinion and Order

granting Defendants JPMorgan Chase & Co. and JPMorgan Chase Bank,

N.A.'s Motion to Dismiss for Failure to State a Claim, this action

is DISMISSED WITH PREJUDICE.

      Costs will be taxed against Plaintiffs.

      This is a FINAL JUDGMENT.

      SIGNED at Houston, Texas, on this the 15th day of July, 2022.




                                                    SIM LAKE
                                      SENIOR UNITED STATES DISTRICT JUDGE
